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                    IN THE UNITED STATES DISTRICT COURT
                   FOR THE SOUTHERN DISTRICT OF GEORGI A
                             BRUNSWICK DIVISIO N                                'k 5W I C K DiV.

                                                                          2 BB JAN 13 A 1)

UNITED STATES OF AMERICA

                                                        CASE NO . : CR205-32
              V.

KALVIN LASHAWN MANGRAM
DENNIS MITCHELL



                                       ORDER

       The Government has filed its "First Motion in Limine" seeking to exclude certain

evidence from the trial of this case. Defendants have filed no response to the motion

indicating no opposition thereto . Accordingly, the Government's First Motion in Limine is

GRANTED .

       SO ORDERED , this / day of January, 2006 .




                                                  NITED STATES MAGISTRATE JUDGE
